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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 SECURITIES AND EXCHANGE
 COMMISSION,

                                  Plaintiff,
                                                       Case No. 23-cv-287 (ER)
                          v.

 GENESIS GLOBAL CAPITAL, LLC and
 GEMINI TRUST COMPANY, LLC,

                                  Defendants.

    FINAL JUDGMENT AS TO DEFENDANT GENESIS GLOBAL CAPITAL, LLC

       The Securities and Exchange Commission having filed a Complaint and Defendant

Genesis Global Capital, LLC having entered a general appearance; consented to the Court’s

jurisdiction over Defendant and the subject matter of this action; consented to entry of this Final

Judgment without admitting or denying the allegations of the Complaint (except as to

jurisdiction and except as otherwise provided herein in paragraph IV); waived findings of fact

and conclusions of law; and waived any right to appeal from this Final Judgment:

                                                  I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

Defendant is permanently restrained and enjoined from violating Section 5 of the Securities Act

of 1933 (“Securities Act”) [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any

applicable exemption:

       (a)      Unless a registration statement is in effect as to a security, making use of any

                means or instruments of transportation or communication in interstate commerce

                or of the mails to sell such security through the use or medium of any prospectus



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                or otherwise;

       (b)      Unless a registration statement is in effect as to a security, carrying or causing to

                be carried through the mails or in interstate commerce, by any means or

                instruments of transportation, any such security for the purpose of sale or for

                delivery after sale; or

       (c)      Making use of any means or instruments of transportation or communication in

                interstate commerce or of the mails to offer to sell or offer to buy through the use

                or medium of any prospectus or otherwise any security, unless a registration

                statement has been filed with the Commission as to such security, or while the

                registration statement is the subject of a refusal order or stop order or (prior to the

                effective date of the registration statement) any public proceeding or examination

                under Section 8 of the Securities Act [15 U.S.C. § 77h].

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant as to the allegations and violations described in the complaint or

with anyone described in (a).

                                                  II.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is liable

for a civil penalty in the amount of $21 million pursuant to Section 20(d) of the Securities Act

[15 U.S.C. § 77t(d)] (the “SEC Claim”). Such civil penalty shall be treated as an allowed

general unsecured claim of the Commission against the Defenndant in the Bankruptcy Case In

re: Genesis Global Holdco, LLC, et al., No. 23-10063 (SHL) (Bankr. S.D.N.Y.) (“Bankruptcy

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Case”), which shall be paid as provided for in the confirmed Chapter 11 Plan in the Bankrutpcy

Case, and shall, for the avoidance of doubt, receive distributions after payment in full of all other

allowed administrative expenses, secured, priority, and general unsecured claims, consistent with

the Consent and this Final Judgment.

       In the event this settlement agreement is not approved by the court in the Bankruptcy

Case, whether pursuant to a motion or the Chapter 11 Plan, prior to entry of a nonappealable

discharge order, the Commission may, at its sole discretion, petition the Court for an order fixing

the amount of disgorgement, pre-judgment interest, and/or civil penalty. Payments of any

amounts fixed by this Court under this Final Judgment shall be treated in accordance with the

Bankruptcy Code and the confirmed Chapter 11 Plan. In connection with any such petition and

at any hearing held on such a motion: (a) Defendant will be precluded from arguing that it did

not violate the federal securities laws as alleged in the Complaint; (b) Defendant may not

challenge the validity of the Judgment, the Consent, or any related undertakings; (c) the

allegations in the Complaint, solely for the purposes of such motion, shall be accepted as and

deemed true by the Court; and (d) the Court may determine the issues raised in the motion on the

basis of affidavits, declarations, excerpts of sworn deposition or investigative testimony, and

documentary evidence without regard to the standard for summary judgment contained in Rule

56(c) of the Federal Rules of Civil Procedure. Under these circumstances, the parties may take

discovery, including discovery from appropriate non-parties.

       Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank



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cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Genesis Global Capital, LLC as a defendant in this action; and specifying that

payment is made pursuant to this Final Judgment.

       Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission’s counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be returned to Defendant.

       The Commission shall hold the funds, together with any interest and income earned

thereon (collectively, the “Fund”), pending further order of the Court.

       The Commission may propose a plan to distribute the Fund subject to the Court’s

approval. Such a plan may provide that the Fund shall be distributed pursuant to the Fair Fund

provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002. The Court shall retain

jurisdiction over the administration of any distribution of the Fund and the Fund may only be

disbursed pursuant to an Order of the Court.

       Regardless of whether any such Fair Fund distribution is made, amounts ordered to be

paid as civil penalties pursuant to this Judgment shall be treated as penalties paid to the

government for all purposes, including all tax purposes. To preserve the deterrent effect of the

civil penalty, Defendant shall not, after offset or reduction of any award of compensatory

damages in any Related Investor Action based on Defendant’s payment of disgorgement in this


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action, argue that it is entitled to, nor shall it further benefit by, offset or reduction of such

compensatory damages award by the amount of any part of Defendant’s payment of a civil

penalty in this action (“Penalty Offset”). If the court in any Related Investor Action grants such

a Penalty Offset, Defendant shall, within 30 days after entry of a final order granting the Penalty

Offset, notify the Commission’s counsel in this action and pay the amount of the Penalty Offset

to the United States Treasury or to a Fair Fund, as the Commission directs. Such a payment shall

not be deemed an additional civil penalty and shall not be deemed to change the amount of the

civil penalty imposed in this Judgment. For purposes of this paragraph, a “Related Investor

Action” means a private damages action brought against Defendant by or on behalf of one or

more investors based on substantially the same facts as alleged in the Complaint in this action.

                                                   III.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment. In

connection with any such petition and at any hearing held regarding such enforcement, (a)

Defendant will be precluded from arguing that it did not violate the federal securities laws as

alleged in the Complaint; (b) Defendant may not challenge the validity of this Judgment, the

Consent, or any related undertakings; (c) the allegations in the Complaint, solely for the purposes

of such motion, shall be accepted as and deemed true by the Court; and (d) the Court may

determine the issues raised in the motion on the basis of affidavits, declarations, excerpts of

sworn deposition or investigative testimony, and documentary evidence without regard to the

standard for summary judgment contained in Rule 56(c) of the Federal Rules of Civil Procedure.

Under these circumstances, the parties may take discovery, including discovery from appropriate

non-parties.



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                                                    IV.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.


Dated: March 18, 2024
       New York, New York
                                             ____________________________________
                                             EDGARDO RAMOS
                                             UNITED STATES DISTRICT JUDGE




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